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                                                                             United States Bankruptcy Court
                                      UNITED STATES BANKRUPTCY COURT             Southern District of Texas
                                        SOUTHERN DISTRICT OF TEXAS                  ENTERED
                                                                                  August 22, 2023
In     Chenab Traders, LLC                                                       Nathan Ochsner, Clerk
Re:
       Debtor(s)                                        Case No.: 23−32023
                                                        Chapter: 7


                                               ORDER CLOSING CASE


The estate has been fully administered. Therefore, the Court orders:

1. Eva S Engelhart is discharged as trustee of the estate.

2. The Trustee's bond is cancelled.

3. The case is closed.




Signed and Entered on Docket: 8/22/23
